Case 3:10-cv-03561-WHA Document 581-11 Filed 10/28/11 Page 1 of 15




                     Exhibit I
Case 3:10-cv-03561-WHA Document 581-11 Filed 10/28/11 Page 2 of 15
Case 3:10-cv-03561-WHA Document 581-11 Filed 10/28/11 Page 3 of 15
Case 3:10-cv-03561-WHA Document 581-11 Filed 10/28/11 Page 4 of 15
Case 3:10-cv-03561-WHA Document 581-11 Filed 10/28/11 Page 5 of 15
Case 3:10-cv-03561-WHA Document 581-11 Filed 10/28/11 Page 6 of 15
Case 3:10-cv-03561-WHA Document 581-11 Filed 10/28/11 Page 7 of 15
Case 3:10-cv-03561-WHA Document 581-11 Filed 10/28/11 Page 8 of 15
Case 3:10-cv-03561-WHA Document 581-11 Filed 10/28/11 Page 9 of 15
Case 3:10-cv-03561-WHA Document 581-11 Filed 10/28/11 Page 10 of 15
Case 3:10-cv-03561-WHA Document 581-11 Filed 10/28/11 Page 11 of 15
Case 3:10-cv-03561-WHA Document 581-11 Filed 10/28/11 Page 12 of 15
Case 3:10-cv-03561-WHA Document 581-11 Filed 10/28/11 Page 13 of 15
Case 3:10-cv-03561-WHA Document 581-11 Filed 10/28/11 Page 14 of 15
Case 3:10-cv-03561-WHA Document 581-11 Filed 10/28/11 Page 15 of 15
